            Case 1:22-cr-00064-RBW Document 44 Filed 09/30/22 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :      CASE NO. 22-CR-64 (RBW)
                 v.                             :
                                                :
LLOYD C. CRUZ, JR.,                             :
                                                :
                         Defendant.             :


                       MOTION IN LIMINE TO LIMIT
          CROSS-EXAMINATION OF SECRET SERVICE AGENCY WITNESSES

          The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully files this motion in limine to limit cross-examination of witnesses with

the United States Secret Service (“Secret Service”), pursuant to Fed. R. Evid. 401, 403, and

611(b).

                                    FACTUAL BACKGROUND

          On January 6, 2021, as a Joint Session of the United States House of Representatives and

the United States Senate convened to certify the vote of the Electoral College for the 2020 U.S.

Presidential Election, the Defendant, along with a large group of individuals, illegally entered a

restricted area at the West Front of the United States Capitol Building. The Defendant remained

in the restricted area, and subsequently left of his own accord.

          The Defendant is charged by superseding information in this case with two counts, one of

which is for violating 18 U.S.C. § 1752(a)(1) by knowingly entering or remaining on restricted

grounds without lawful authority. The statute defines “restricted buildings or grounds” to include

any building or grounds that a person being protected by the Secret Service is or will temporarily

be visiting. 18 U.S.C. § 1752(c)(1)(B).
            Case 1:22-cr-00064-RBW Document 44 Filed 09/30/22 Page 2 of 6




       To meet its burden of proof at trial, the government may call a witness from the Secret

Service to testify that, at the time of the Capitol breach, Secret Service agents were on duty to

protect Vice President Michael Pence and his two immediate family members, all of whom were

present at the Capitol.

       However, the very nature of the Secret Service’s role in protecting the Vice President and

his family implicates sensitive information related to that agency’s ability to protect high-ranking

members of the Executive branch and, by extension, national security. Thus, the government seeks

an order limiting the cross-examination of the Secret Service witnesses to questioning about the

protection detail work performed by the Secret Service on January 6, 2021, as testified to on direct

examination, in this case protecting the Vice President and his family. The government further

requests that such order preclude cross-examination that would elicit information that is not

directly related to whether the Secret Service was performing that function at the Capitol on

January 6, 2021. The Defendant should be specifically foreclosed from questioning the witnesses

about the following:

       1. Secret Service protocols related to the locations where protectees or their motorcades

             are taken at the Capitol or other government buildings when emergencies occur;

       2. Details about the nature of Secret Service protective details, such as the number and

             type of agents the Secret Service assigns to protectees.

                                           ARGUMENT

       I.       This Court Has the Discretion to Limit Cross-Examination of Witnesses at
                Trial

       It is well-established that a district court has the discretion to limit cross examination. See

Alford v. United States, 282 U.S. 687 (1931) (“The extent of cross-examination [of a witness] with

respect to an appropriate subject of inquiry is within the sound discretion of the trial court.”). A

                                                  2
         Case 1:22-cr-00064-RBW Document 44 Filed 09/30/22 Page 3 of 6




court has the discretion to prohibit cross-examination that goes beyond matters testified to on direct

examination. Fed. R. Evid. 611(b). This is particularly so when the information at issue is of a

sensitive nature. See e.g., United States v. Balistreri, 779 F.2d 1191, 1216-17 (7th Cir. 1985)

(upholding district court’s decision to prohibit cross-examination of agent about sensitive

information about which that agent did not testify on direct examination and which did not pertain

to the charges in the case), overruled on other grounds by Fowler v. Butts, 829 F.3d 788 (7th Cir.

2016). Other permissible reasons for limiting cross-examination include preventing harassment,

prejudice, confusion of the issues, or repetitive, cumulative, or marginally relevant questioning.

Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986).

       While limiting a defendant’s opportunity for cross-examination may implicate the

constitutional right to confront witnesses, the Confrontation Clause only guarantees “an

opportunity for effective cross-examination, not cross-examination that is effective in whatever

way, and to whatever extent, the defense might wish.” Delaware v. Fensterer, 474 U.S. 15, 20

(1985). Even evidence that may be relevant to an affirmative defense should be excluded until the

defendant sufficiently establishes that defense through affirmative evidence presented during his

own case-in-chief. See United States v. Lin, 101 F.3d 760, 768 (D.C. Cir. 1996) (acknowledging

trial court has discretion to limit cross-examination on prejudicial matters without reasonable

grounding in fact); United States v. Sampol, 636 F.2d 621, 663-64 (D.C. Cir. 1980) (holding that

trial court properly limited cross-examination of alleged CIA murder scheme until defense put

forth sufficient evidence of the affirmative defense in its case-in-chief); United States v. Stamp,

458 F.2d 759, 773 (D.C. Cir. 1971) (finding trial court properly excluded cross examination of

government’s witness with response to matter only related to an affirmative defense and not

elicited through direct exam). Preventing the defendant from exploring the topics identified above



                                                  3
          Case 1:22-cr-00064-RBW Document 44 Filed 09/30/22 Page 4 of 6




will not infringe his Confrontation Clause right because those topics are not relevant to an element

at issue in the case, provide no basis for impeaching the Secret Service witness, and do not

implicate any affirmative defense.

       II.     Cross-Examination of Secret Service Witnesses Should Be Limited to
               Whether the Capitol was Restricted on January 6, 2021

       In order to prove the conduct charged in the Information, the government may elicit

testimony from Secret Service witnesses to establish that the Capitol and its grounds were

“restricted,” for purposes of § 1752(a) because the Vice President and his family were present

there and being protected by the Secret Service. 1 See 18 U.S.C. § 1752(c)(1)(B)(defining

restricted buildings and grounds). The government need only prove that, on January 6, 2021, the

U.S. Capitol was a “building or grounds where the President or other person protected by the

Secret Service is or will be temporarily visiting.” Id.

       Cross-examination of Secret Service witnesses about extraneous matters beyond the scope

of direct examination should be excluded as irrelevant or unduly prejudicial. The Secret Service’s

general protocols about relocation should be excluded as irrelevant because such evidence does

not tend to make a fact of consequence more or less probable. Fed. R. Evid. 401 (defining relevant

evidence). Similarly, evidence of the nature of Secret Service protective details is not relevant in

this case. The number or type of assigned agents on a protective detail does not alter the restricted

area that was established on January 6, 2021. None of the other elements to be proven, or available

defenses, implicates further testimony from the Secret Service.

       Even assuming the evidence to be excluded is marginally relevant, such relevance is

substantially outweighed by the danger of confusion of the issues, mini-trials, undue delay, and



1
 The Secret Service is authorized to protect the Vice President and his immediate family. 18
U.S.C. §§ 3056(1) and (2).
                                                  4
           Case 1:22-cr-00064-RBW Document 44 Filed 09/30/22 Page 5 of 6




waste of time. See United States v. Mohammed, 410 F. Supp. 2d 913, 918 (S.D. Cal. 2005) (finding

that information having broader national security concerns can be excluded under Rule 403

because its tendency to confuse the issues, mislead the jury, create side issues or a mini trial can

result in undue prejudice that substantially outweighs any probative value). Broader cross-

examination of Secret Service witnesses could compromise national security without adding any

appreciable benefit to the determination of the truth, or the veracity or bias of witnesses. Id.

   III.      The Government Requests an In Camera Ex Parte Proceeding to Determine the
             Admissibility of Certain Evidence

          If this court determines that a hearing is necessary to determine the admissibility of

testimony by Secret Service witnesses, the government requests the hearing be conducted in

camera and ex parte. As noted, in this case, disclosure of certain information could prove

detrimental to the Secret Service’s ability to protect high-level government officials and affect our

national security. Courts have found such considerations justify ex parte, in camera proceedings.

See Gilmore v. Palestinian Interim Self-Gov’t Auth., 843 F.3d 958, 968 (D.C. Cir. 2016) (finding

that while ex parte proceedings should be employed to resolve discovery disputes only in

extraordinary circumstances, they are appropriate where disclosure could lead to substantial

adverse consequences, such as where a party sought intelligence materials generated in the midst

of a geopolitical conflict); United States v. Nixon, 418 U.S. 683, 714 (1974) (affirming district

court’s order for in camera inspection of subpoenaed presidential materials); United States v.

Kampiles, 609 F.2d 1233, 1248 (7th Cir. 1979) (“It is settled that in camera ex parte proceedings

to evaluate bona fide Government claims regarding national security information are proper.”); In

re Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977) (finding that in camera proceedings “serve to

resolve, without disclosure, the conflict between the threatened deprivation of a party’s




                                                  5
         Case 1:22-cr-00064-RBW Document 44 Filed 09/30/22 Page 6 of 6




constitutional rights and the Government’s claim of privilege based on the needs of public

security.”); United States v. Brown, 539 F.2d 467, 470 (5th Cir. 1976) (per curiam) (same).

                                          CONCLUSION

       For these reasons, the United States requests that this court enter an order, as described

above, limiting cross-examination of any witness with the Secret Service. If this court determines

an evidentiary hearing is necessary to rule on this motion, the government asks that the hearing be

held in camera and ex parte.

                                             Respectfully submitted,

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